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                                     UNITED STATES DISTRICT COURT
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                                    NORTHERN DISTRICT OF CALIFORNIA
20
                                              OAKLAND DIVISION
21

22   IN RE COLLEGE ATHLETE NIL                           Case No. 4:20-cv-03919-CW
     LITIGATION
23                                                       PLAINTIFFS’ OPPOSITION TO HOUSTON
                                                         CHRISTIAN UNIVERSITY’S MOTION TO
24                                                       INTERVENE
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                    PLAINTIFFS’ OPPOSITION TO HOUSTON CHRISTIAN UNIVERSITY’S MOTION TO INTERVENE
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 1
     I.   INTRODUCTION
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            Plaintiffs oppose Houston Christian University’s (“HCU” or the “University”), Motion to
 3
     Intervene (“Motion”) (ECF No. 423)—which takes aim at the parties’ not-yet-filed settlement agreement
 4
     and motion for preliminary approval of the settlement—because it is both premature and meritless under
 5
     Federal Rule of Civil Procedure 24.
 6
            It would only waste judicial resources to litigate this attempted intervention now because it makes
 7
     speculative, unsupported claims about the settlement terms—which are not yet before the Court—and
 8
     their purported impact. The Court should deny the Motion for this reason alone. But even if it were not
 9
     premature, HCU’s Motion fails to make a convincing case that intervention is necessary or appropriate.
10
     HCU does not show that it has standing to intervene or establish any interest that requires protection, much
11
     less an interest that is not adequately represented. As a result, its Motion must be denied.
12
     II. INTERVENTION SHOULD BE DENIED
13
          A. HCU’s Motion to Intervene Should Be Denied as Premature
14
            HCU’s hypothetical fears are no grounds for intervention, and the Motion is thus premature.
15
     Indeed, courts routinely reject attempts to intervene to oppose a settlement before the court has preliminary
16
     approved the settlement. See, e.g., Lane v. Facebook, Inc., 2009 WL 3458198, at *5–6 (N.D. Cal. Oct. 23,
17
     2009) (denying motion to intervene because proposed intervenors “failed to establish any significantly
18
     protectable interest incumbent in an opportunity to object to preliminary approval as opposed to the right
19
     to object to final approval”); Gonzalez v. CoreCivic of Tenn., LLC, 2018 WL 3689564, at *5 (E.D. Cal.
20
     Aug. 1, 2018) (denying motion to intervene because “[t]o the extent the motion [] registers objections to
21
     the proposed settlement of th[e] action, the objections are premature as no settlement ha[d] yet been
22
     preliminarily approved”); Chi v. Univ. of S. Cal., 2019 WL 3064457, at *6 (C.D. Cal. Apr. 18, 2019)
23
     (“[A]ll objections to [a] settlement agreement are contemplated to be lodged after preliminary approval
24
     and before final approval.”). And here, the preliminary approval motion has not even been filed.
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                     PLAINTIFFS’ OPPOSITION TO HOUSTON CHRISTIAN UNIVERSITY’S MOTION TO INTERVENE
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 1           HCU’s Motion is emblematic of why this rule exists: there is no preliminary approval motion or
 2   settlement agreement before the Court. 1 HCU’s claims about the settlement terms and their impact are
 3   mere conjecture, and the Court, without having the proposed settlement agreement before it, has no means
 4   at this point to assess the legitimacy of those claims. At the least, this assessment can only be made after
 5   the parties finalize their settlement agreement, file the motion for preliminary approval, and put the terms
 6   of the settlement before the Court. Even then—as the foregoing cases explain—intervention would be
 7   inappropriate before the Court grants preliminary approval of the settlement. 2 In any event, that issue does
 8   not need to be decided now because no motion has even been filed with a finalized settlement agreement.
 9       B. HCU’s Motion to Intervene Is Meritless
10           In any event, HCU fails to show that it is entitled to intervene. As a threshold matter, HCU, an
11   unnamed coconspirator, does not have standing to object to the settlement—its sole purpose for seeking
12   intervention. See Californians for Disability Rights, Inc. v. Cal. Dep’t of Transp., 2010 WL 2228531, at
13   *8 (N.D. Cal. June 2, 2010) (a party that “does not profess to represent any class members [] lacks standing
14   to object” to settlement).
15           That aside, while HCU correctly articulates the requirements for intervention under Rule 24, the
16   University does not meaningfully engage with any of them. Instead, it indulges in a speculative parade of
17   horribles based on its assumptions about the terms of the final settlement between the parties. To intervene
18   as of right, HCU bears the burden of proving “(1) it has a significant protectable interest relating to the
19   property or transaction that is the subject of the action; (2) the disposition of the action may, as a practical
20   matter, impair or impede [HCU’s] ability to protect its interest; (3) the application is timely; and (4) the
21   existing parties may not adequately represent [HCU’s] interest.” United States v. Alisal Water Corp., 370
22   F.3d 915, 919 (9th Cir. 2004) (citation and internal quotation marks omitted). “Failure to satisfy any one
23   of the requirements is fatal to [an] application” to intervene. Perry v. Proposition 8 Off. Proponents, 587
24   F.3d 947, 950 (9th Cir. 2009). Permissive intervention is a matter of judicial discretion, but is frequently
25
     1
       Pursuant to the Joint Stipulation Staying Action Pending Settlement Approval filed and entered on May
26     30, 2024 (ECF Nos. 420–21), Plaintiffs intend to file a motion for preliminary approval of the settlement
       no later than July 15, 2024.
27   2
       Plaintiffs reserve the right to challenge HCU’s standing to object to the settlement if it files a renewed
       motion to intervene or an objection after the filing or grant of preliminary approval.
28
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                     PLAINTIFFS’ OPPOSITION TO HOUSTON CHRISTIAN UNIVERSITY’S MOTION TO INTERVENE
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 1   denied when the movant fails to satisfy the requirements to intervene as of right. See Viet Bui v. Sprint
 2   Corp., 2015 WL 3828424, at *3 (E.D. Cal. June 19, 2015) (collecting cases). HCU fails to show that it
 3   meets any of the requirements for intervention or that discretionary permissive intervention is appropriate.
 4          First, HCU’s vague (and uninformed) claim that the settlement would divert funds from academics
 5   is not a sufficiently concrete interest to warrant intervention. See Alisal Water Corp., 370 F.3d at 920 n.3
 6   (“A mere interest in property that may be impacted by litigation is not a passport to participate in the
 7   litigation itself.”). Any related (and hypothetical) fear that the settlement would impair the NCAA’s ability
 8   to sustain HCU sports economically is similarly defunct. See Davies v. GetFugu, Inc., 2010 WL 11597376,
 9   at *4 (C.D. Cal. June 2, 2010) (“[T]he Ninth Circuit [has] explained that a mere economic interest in the
10   assets of a defendant . . . is insufficient to establish a right to intervention.”) (citing Haw.-Pac. Venture
11   Cap. Corp. v. Rothbard, 564 F.2d 1343, 1346 (9th Cir. 1977)).
12          Second, HCU offers no concrete explanation for how its interests would practically be impaired.
13   See Forsyth v. HP Inc., 2020 WL 4923965, at *3–4 (N.D. Cal. Aug. 21, 2020) (denying motion to
14   intervene where “speculative settlement agreement d[id] not rise to the level of concreteness necessary to
15   demonstrate that the disposition of th[e] action would impair [its] interests”); Fisher v. Arizona, 594 F.
16   App’x 917, 919–20 (9th Cir. 2014) (affirming denial of intervention motion in part because an “intervenor
17   cannot rely on [an] interest that is remote and speculative”). HCU baldly asserts that the settlement would
18   require “the diversion of funds from academics to athletics” (see Mot. at 6), but that is pure speculation
19   given that no final settlement has been filed. Contrary to HCU’s speculation, under the proposed
20   settlement, all potential future payments from universities to college athletes would be voluntary—just
21   like universities’ participation in Division I sports and the NCAA. Third, as described above, HCU’s
22   Motion—which seeks to file a complaint for a “declaratory judgment stating that the proposed settlement
23   is not approved and is void and of no effect” (ECF No. 423-1 at 6)—is premature because there is currently
24   no proposed settlement for this Court to evaluate.
25          Fourth, HCU’s claimed interest is adequately protected by existing parties that have identical
26   interests. In cases “[w]here parties share the same ultimate objective, differences in litigation strategy do
27   not normally justify intervention.” Arakaki v. Cayetano, 324 F.3d 1078, 1086 (9th Cir. 2003); see also
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 1   Perry, 587 F.3d at 954. This rule applies with particular force here, where the NCAA—an organization
 2   comprised of member schools—“speaks for its members,” including HCU. See MARY KAY KANE, 7C
 3   FED. PRAC. & PROC. CIV. § 1909 (WRIGHT & MILLER) (3d ed. 2024). The NCAA did not just “speak for
 4   its members”—its Board of Governors, a body that is designed to be representative of college athletics,
 5   voted on the broad contours of the settlement. HCU’s post hoc disagreement with the outcome of that vote
 6   is no grounds for intervention. Indeed, it would unduly prejudice the parties and risk derailing the final
 7   settlement. See Allen v. Bedolla, 787 F.3d 1218, 1222 (9th Cir. 2015) (denying motion to intervene that
 8   “was filed after four years of ongoing litigation, on the eve of settlement, and threatened to prejudice
 9   settling parties by potentially derailing settlement talks”); see also Cody v. SoulCycle, Inc., 2017 WL
10   8811114, at *2 (C.D. Cal. Sept. 20, 2017). 3
11          HCU’s arguments also smack of insincerity given that for years HCU has voluntarily been a
12   member of the NCAA and operated Division I sports teams without compensating athletes for their NIL.
13   It is only now that it faces the prospect of paying athletes for the value they generate that HCU objects to
14   the NCAA speaking for it.
15   III. CONCLUSION
16          For the foregoing reasons, Plaintiffs respectfully request that the Court deny HCU’s Motion to
17   Intervene.
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20   3
       HCU has long had notice of this litigation—filed in June 2020—and its potential impact on Division I
     sports. Its interest in the litigation is the same as it has been all along. If, as HCU claims, it was not
21   adequately represented by the Defendants, it should have (and could have) intervened long ago. The
     timeliness requirement exists for this very reason—to prevent parties from intervening only to sabotage a
22   settlement. See Orange Cnty. v. Air Cal., 799 F.2d 535, 538 (9th Cir. 1986) (intervenor cannot wait to
     intervene until there is a settlement that is not “entirely to its liking”); Abdurahman v. Alltran Fin., LP,
23   330 F.R.D. 276, 279 (S.D. Cal. 2018) (“[T]he ‘rationale underlying [the timeliness] requirement’ is to
     prevent parties from intervening ‘only after the original parties have reached an acceptable settlement’
24   because such an intervention would ‘cause substantial prejudice to the original parties.’”) (quoting Empire
     Blue Cross & Blue Shield v. Janet Greeson’s A Place For Us, Inc., 62 F.3d 1217, 1219 (9th Cir. 1995));
25   see also Cody, 2017 WL 8811114, at *3 (rejecting proposed intervenor’s explanation for his delayed
     participation—i.e., “he moved to intervene as soon as the proposed terms of the Settlement Agreement
26   became public”—because “the length of time for which th[e] action ha[d] been pending, and the extensive
     national press coverage it [] received over the years” made it “highly unlikely that the [p]roposed
27   [i]ntervenor was not on notice for a substantial period of time that his interests could be impacted by the
     . . . action”) (emphasis in original).
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 1                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in the
 3   filing of this document has been obtained from the signatories above.
 4                                                    By: /s/ Jeffrey L. Kessler
 5                                                       Jeffrey L. Kessler

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